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UNITED STATES DISTRICT COURT                     '■'■is- u.... ^iCT COURT E.D K' Y,
EASTERN DISTRICT OF NEW YORK
                                                ★ APR 08 2022 *
Liang Yang,                                     BROOKLYN OFFICE
                          Plaintiffs,

                                                         CONSOLIDATION ORDER
V.
                                                            CV-21-1047(FB)(MMH)
Trust for Advised Portfolios, et, al.                       CV-22-896(FB)(MMH)
                  Defendant.




                IT IS ORDERED that case number CV-22-896              be consolidated into lead case number
  CV-21-1047 as related actions.                                                                         I'
                IT IS ORDERED that case number CV-22-896 be administratively closed and all
further entries be made on the lead case, docket number CV-21-1047.

                IT IS ORDERED plaintiff will serve and file a consolidated complaint within 60 days of
the date ofthis order.

               IT IS ORDERED defendants will either serve and file their answer or a letter requesting a
pre-motion conference within 60 days after the filing ofthe consolidated complaint.




                                                         /S/ Frederic Block
                                                         UNITED STATES DISTRICT JUDGE



DATED: Brooklyn, N.Y.
       April 6, 2022
